265 F.2d 223
    Carl SMITH, Appellant,v.UNITED STATES of America.
    No. 16058.
    United States Court of Appeals Eighth Circuit.
    March 5, 1959.
    
      J. G. Fletcher and B. A. Webster, Jr., Des Moines, Iowa, for appellant.
      Roy L. Stephenson, U.S. Atty., Richard J. Wells, Asst. U.S. Atty., Des Moines, Iowa, and John C. Stevens, Asst. U.S. Atty., Muscatine, Iowa, for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant.
    
    